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 Attorneys for the Debtors

                                               :   UNITED STATES BANKRUPTCY COURT
 In re:                                        :   FOR THE DISTRICT OF NEW JERSEY
 SHAPES/ARCH HOLDINGS L.L.C., et               :   CHAPTER 11
 al.,                                          :
              Debtors.                         :   CASE NO. 08-14631 (GMB)
                                               :
                                               :


     NOTICE OF FILING OF SCHEDULE 8.1 TO DEBTORS’ THIRD AMENDED PLAN


                 PLEASE TAKE NOTICE, that the above-captioned Debtors (the “Debtors”),1

 hereby file their notice of the executory contracts and unexpired leases (the “Assumed

 Agreements”) to be assumed pursuant to Section 8.1 of the Debtors’ Third Amended Plan of

 Reorganization dated May 23, 2008 (and Article (VII)(G)(1) of the Debtor’s Disclosure

 Statement dated May 23, 2008), and the amounts necessary to cure all pre-petition monetary

 defaults under the Assumed Agreements;


                 PLEASE TAKE FURTHER NOTICE, that the amounts reflected on the cure

 schedule annexed hereto as Exhibit “A” are the amounts reflected in the Debtors' books and

 records, and any counter party to an Assumed Agreement must file with the Bankruptcy Court


 1
   In addition to Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), the following entities, all of
 which are wholly owned subsidiaries of Shapes/Arch, also filed petitions on the Petition Date
 (defined below): Shapes L.L.C. (“Shapes”); Delair L.L.C. (“Delair”); Accu-Weld L.L.C.
 (“Accu-Weld”); and Ultra L.L.C. (“Ultra”).


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 and serve upon the undersigned counsel for the Debtors an objection to this cure notice on or

 before July 3, 2008 at 4:00 if the counter party disagrees with the cure amount set forth herein.

 The objection should set forth the basis for the objection with a reasonable degree of specificity

 and include the amount that the counter party believes is necessary to cure any pre-petition

 defaults. Further, if a counter party believes that additional amounts have come due since the

 commencement of these cases on March 16, 2008, then that additional amount should also be

 included in the objection to the cure notice;


                 PLEASE TAKE FURTHER NOTICE, that any counter party to any of the

 Assumed Agreements that fails to timely file and serve an objection shall be bound by the

 amount shown by the Debtors on Exhibit “A” and shall be forever barred, estopped and enjoined

 from asserting any other or additional cure claim and no objection by the Debtors to a late claim

 shall be necessary;


                 PLEASE TAKE FURTHER NOTICE, that any objection to this cure notice

 shall be considered at the confirmation hearing to occur on July 8, 2008 at 10:00 a.m. at the

 United States Bankruptcy Court for the District of New Jersey (Camden Vicinage), 400 Cooper

 Street, Camden, NJ 08101.

 Dated: June 23, 2008

                                                 COZEN O’CONNOR

                                        By:      /s/ Jerrold N. Poslusny, Jr.
                                                 Mark E. Felger
                                                 Jerrold N. Poslusny, Jr.

                                                 Attorneys for the Shapes/Arch Holdings LLC, et al.




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                                          EXHIBIT A




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